Rosenberg, &
Associates, LLC
4340 East West

Highway, Suite 600
Bethesda, MD 20814

FILE |

Project NAME:
Brown, JR., JOSEPH
PROPERTY ADDRESS:
3846 TERKA CIRCLE

 

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After recording, return to:
Rosenberg & Associates, LLC

4340 East West Highway, Suite 600
Bethesda, MD 20814

Baltimore County Cir Crt
MIN: IMP FD SURE $40.00

RECORDING FEE $20.00
MERS Phone Number: 1-888-679-6377
TOTAL $60.00

Tax ID Number JLE INS
Nov @6, 2017 @2:47 pm

ASSIGNMENT OF DEED OF TRUST

KNOW ALL MEN BY THESE PRESENTS that, Mortgage Electronic
Registration Systems, Inc. as nominee for NATIONS DIRECT MORTGAGE, LLC DBA
MOTIVE LENDING, its successors and assigns, located at P.O. Box 2026, Flint, Ml 48501-
2026, does hereby grant, assign, and transfer over unto, Nations Direct Mortgage,
LLC, located at 1 Corporate Drive, Suite 360, Lake Zurich, IL 60047, its successors and
assigns, a certain Deed of Trust dated December 30, 2015 executed and delivered by
Joseph BROWN, JR. and Phaedra A. BROWN to Talbot Settlement and Escrow LLC
as Trustee(s) in the amount of Two Hundred Fifty Thousand Two Hundred Eighty-
Two ($250,282.00) and recorded January 8, 2016 in Book 37058, Page 166 among
the Land Records of the Circuit Court for Baltimore County, Maryland.

Property Address:
3846 Terka Circle, Randallstown, MD 21133

Being known and designated as Lot No. 34, Block R, as shown on the
Plat entitled “Section 6, Plat One, Randall Ridge” which Plat is recorded
among the Land Records of Baltimore County, Maryland, in Plat Book RRG
No. 30 Folio 116.

 

 
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Associates, LLC
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Case 20-20565 D@oigRe: 396len PAGB/2487 Page 2 of 2

Executed this 267 day of Cedobey 207...

 

Mortgage Electronic Registration
Systems, Inc. as nominee for NATIONS
DIRECT MORTGAGE, LLC DBA MOTIVE
LENDING, its successors and assigns,

 

STATE OF ~¥\Wiwrrnt &>
COUNTY OF Lamito

 

On this @C> day of pc PCoU 1 _, before me, the undersigned,
personally appeared ary Swanson , known to me to be the person
who executed the within instrument as the Vice President

 

of Mortgage Electronic Registration Systems, Inc. as nominee for NATIONS
DIRECT MORTGAGE, LLC DBA MOTIVE LENDING, its successors and assigns, the
Corporation that executed the within instrument and acknowledged to me that the
Corporation executed the within instrument pursuant to its by-laws or a resolution of
its board of directors.

Witness my hand and official seal:

Croom © OD SS
Notary PURIiC - oordine?D. Buckley

My Commission Expires: -\\- 2\

 

 

 
